        Case 14-31565-KLP                        Doc          Filed 05/23/19 Entered 05/23/19 14:28:00                 Desc Main
 Fill in this information to identify the case:
                                                              Document      Page 1 of 4
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Larry Donnell Canada
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________             VA
                                                                District of __________
                                                                                 (State)
 Case number            14-31565-KLP
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                               10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as                                   Court claim no. (if known):
 Name of creditor:                ______________________________________
                                  Trustee of the Igloo Series III Trust
                                                                                                             11
                                                                                                             _________________
                                                                                           2 ____
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                                                                                                  2 ____
                                                                                                       8
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                2301 Johnson Place
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Richmond                   VA       23223
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:
  X Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:
  X Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                  06    01 2019
                                                                                     ____/_____/______
                                                                                     MM / DD   / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +   (b)   $ __________
        c. Total. Add lines a and b.                                                                                       (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                  ____/_____/______
        due on:                                                                      MM / DD / YYYY


Form 4100R                                                     Response to Notice of Final Cure Payment                               page 1
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Debtor 1        Larry Donnell Canada
                _______________________________________________________                                              14-31565-KLP
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
   X I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Michelle R. Ghidotti-Gonsalves
                   __________________________________________________
                   Signature
                                                                                              Date    05 23 2019
                                                                                                      ____/_____/________




 Print              Michelle              R.           Ghidotti-Gonsalves
                   _________________________________________________________                  Title   Authorized Agent
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           Ghidotti | Berger LLP
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana                  CA              92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949
                   (______) 427 _________
                            _____– 2010                                                             mghidotti@ghidottiberger.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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